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9
10                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
11                                  SAN FRANCISCO DIVISION
12

13   ASETEK DANMARK A/S,                            CASE NO. 3:19-cv-00410-EMC

14                        Plaintiff and             ASETEK DANMARK A/S AND ASETEK
                          Counterdefendant,         USA, INC.’S REPLY IN SUPPORT OF
15                                                  MOTION FOR PARTIAL SUMMARY
     ASETEK USA, INC.,                              JUDGMENT
16
                          Counterdefendant,
17                                                  Date:           May 5, 2022
                   v.                               Time:           1:30 PM
18                                                  Location:       Courtroom 5, 17th Floor
     COOLIT SYSTEMS, INC.,                          Judge:          Hon. Edward M. Chen
19
                          Defendant and
20                        Counterclaimant,

21   COOLIT SYSTEMS USA INC., COOLIT
     SYSTEMS ASIA PACIFIC LIMITED,
22   COOLIT SYSTEMS (SHENZHEN) CO.,
     LTD.,
23
                          Defendants,
24
     CORSAIR GAMING, INC. and CORSAIR
25   MEMORY, INC.,

26                        Defendants.

27

28

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1    I.       THE CLAIMED “PLATE” SHOULD BE CONSTRUED TO REQUIRE A
              RIGID MATERIAL BASED ON THE INTRINSIC RECORD AND THE
2             PTAB’S FINAL DECISION

3             Instead of directly addressing the merits of Asetek’s proposed construction of “plate,” CoolIT

4    primarily raises a procedural argument that Asetek’s request for claim construction should be ignored

5    as “untimely.” CoolIT asks this Court to disregard the final judgment of the PTAB which drove

6    Asetek’s claim construction request, and to give “plate” a plain and ordinary meaning in spite of the

7    PTAB’s finding that there is no written description support for plate made of compliant materials.

8    CoolIT’s procedural arguments are contrary to the law and facts in this case, as well as hypocritical

9    given that CoolIT similarly requested claim construction after a PTAB ruling on one of its patents
10   (explained below). CoolIT’s reliance on extrinsic evidence that are at odds with intrinsic evidence to
11   argue that the material of the “plate” is unimportant is also misplaced.
12            A.     The PTAB’s Final Written Decision in the IPR Against CoolIT’s ’266
                     Patent Led to Asetek’s Request for Claim Construction
13

14            CoolIT’s opposition argues that their infringement theories always mapped the compliant
15   EPDM manifolds in Asetek’s Gen 5, 6, and 7 products to the claimed “plate,” and that Asetek did not

16   supplement its interrogatory responses to identify the non-infringement position based on “plate”

17   before the close of fact discovery on August 31, 2021. Dkt. 423 at 2-3. CoolIT’s arguments ignore that

18   the PTAB’s final written decision discussing written description support for plate did not issue until

19   October 12, 2021—i.e., close to 1.5 months after close of fact discovery—and almost a month after

20   the parties exchanged initial expert reports on September 16, 2021.

21            In the final written decision, the PTAB not only agreed with Asetek that there was no written

22   description support for “manifold body defin[ing] a pair of compliant surfaces” in the 2007 Provisional

23   (see Dkt. 394-5 at 23, 30), the PTAB additionally found the following:

24        •   In discussing disclosure in CoolIT’s 2011 Provisional of the benefits of compliant insert 334
25            over rigid plate 240, the PTAB stated: “This is objective, intrinsic evidence that the inventor,

26            as of 2011, did not consider plate 240 to be made of what he described in the 2011 Provisional

27            as being compliant material.” Id. at 24-25 (emphasis added).

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1       •   “The inventor’s substitution of the phrase ‘rigid plate’ for the phrase ‘plate 240’ [in the ’266
2           patent] is objective, intrinsic evidence that as of 2012 [when the ’266 patent was filed], the

3           inventor considered plate 240 (which he was contrasting with compliant insert 334) to be

4           made of a rigid, rather than compliant, material.” Id. at 26 (emphasis added).

5       •   “Nothing in the 2007 Provisional would have indicated to a POSITA that the inventor
6           envisioned making plate 240 of a compliant material in order to perform a gasketing or

7           sealing function.” Id. at 28-29 (emphasis added).

8           Despite the PTAB’s above findings that there is no disclosure prior to 2011 of the plate 240

9    (i.e., the “plate”) being made of a compliant material, CoolIT’s expert subsequently mapped the

10   claimed “plate” to the compliant EPDM manifold in Asetek’s Gen 5, 6, and 7 products in his

11   Infringement Report (served November 3, 2021). After Asetek’s counsel studied the PTAB’s above

12   findings and CoolIT’s expert’s Infringement Report, and also consulted with Asetek’s expert (Dr.

13   Tuckerman) regarding same, the need to construe “plate” consistent with the PTAB’s findings first

14   came into focus. Bhattacharyya Decl., ¶7. The papers exchanged by the parties during the IPR trial
15   did not bring to light this claim construction dispute because CoolIT’s IPR papers focused primarily
16   on a legal argument about written description requirement under Ariad Pharms., Inc. v. Eli Lilly &
17   Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010) (en banc) and “blaze marks” (such as seal and bendable
18   tabs) providing written description for compliant plate, not whether plate 240 itself was made of
19   compliant material (or not). Id.; see Ex. A, slide 11. Accordingly, Asetek’s main focus during the IPR
20   trial was to counter CoolIT’s meritless legal arguments and scientifically incorrect “blaze mark”
21   positions. Bhattacharyya Decl., ¶7. The PTAB disagreed with CoolIT’s written description arguments
22   and its unscientific positions on the alleged “blaze marks,” and additionally found that there was no
23   indication the inventor possessed “plate” made of a compliant material in 2007 (as summarized in the
24   bullet points above). Accordingly, there is no written description support for “plate” made of
25   compliant material in the 2007 Provisional. Thus, it was the PTAB’s final written decision, CoolIT’s
26   expert’s Infringement Report, and Asetek’s counsel’s discussions of the PTAB’s decision and the
27   Report with Asetek’s expert that led to Asetek’s request for claim construction of “plate.” See id.

28   Contrary to CoolIT’s allegations, Asetek did not strategically withhold “plate” from the prior two

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1    rounds of claim constructions. Id.

2           Nor is Asetek “ambush[ing]” CoolIT with claim construction during summary judgment, as

3    alleged by CoolIT. See Dkt. 423 at 10-11. Following the issuance of the PTAB’s decision and

4    discussions with Dr. Tuckerman, Asetek promptly disclosed its claim construction and non-

5    infringement position in Dr. Tuckerman’s Non-Infringement Report served on December 8, 2021.

6    Dkt. 394-4, ¶¶41-53. Thus, contrary to CoolIT’s allegation, Asetek timely complied with its Rule 26

7    disclosure obligations by supplementing its non-infringement disclosure “in writing” and “during the

8    discovery process.” Fed. R. Civ. P. 26(e)(1)(A) (requiring supplementation or correction of discovery

9    responses “in a timely manner . . . if the additional or corrective information has not otherwise been
10   made known to the other parties during the discovery process or in writing.”) (emphasis added). In
11   response, CoolIT buried its head in the sand—CoolIT’s expert did not supplement his Infringement
12   Report, nor did he substantively respond to the PTAB’s findings on written description during his
13   subsequent deposition in January 2022 (even though he admitted during his deposition that he knew
14   the PTAB disagreed with him). Ex. B at 95:8-96:18. Thus, CoolIT’s complaint that it had “two mere
15   weeks to marshal arguments and evidence in support of its opposition to” Asetek’s claim construction
16   and noninfringement arguments is completely groundless. See Dkt. 423 at 12. CoolIT has had close to
17   four months to develop its opposition, and it has been doing so, as evident from CoolIT’s counsel’s
18   extensive questioning of Asetek’s expert during his deposition regarding the claim term “plate.” See,
19   e.g., Ex. C at 177:14-188:23.
20           B.     Courts Routinely Consider Claim Construction During Summary Judgment
21           Although Asetek does not believe that its claim construction request is belated under the

22   circumstances described in the preceding section, Asetek agrees that the Court “retains discretion to

23   hear belated claim construction arguments.” Boston Scientific Corp. v. Johnson & Johnson, 534 F.

24   Supp. 2d 1062, 1074 (N.D. Cal. 2007); see also SanDisk Corp. v. Memorex Prods., Inc., 415 F.3d

25   1278, 1292 (Fed. Cir. 2005). And in this case, Asetek respectfully submits that claim construction of

26   “plate” has become necessary following the PTAB’s final written decision to resolve the parties’

27   disputes over alleged infringement and validity, and respectfully requests that the Court construe

28   “plate” (and not give it plain and ordinary meaning).

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1           Contrary to CoolIT’s arguments, a motion for summary judgment is not an improper means to

2    construe disputed claim terms, and courts in this and other districts routinely do so. As another court

3    in this district and the Federal Circuit have explained, “claim construction presents a question of law

4    for the Court to decide. As such, the Federal Circuit has held that claims may be construed by way of

5    a motion for summary judgment.” Aircraft Tech. Publishers v. Avantext, Inc., No. C 07-4154 SBA,

6    2009 WL 3817944, at *3 (N.D. Cal. Nov. 10, 2009) (citing Gentex Corp. v. Donnelly Corp., 69 F.3d

7    527, 530 (Fed. Cir. 1995) (“Claim interpretation is a question of law amenable to summary

8    judgment.”) and Laitram Corp. v. Morehouse Indus., Inc., 143 F.3d 1456, 1462 (Fed. Cir. 1998)

9    (affirming motion for summary judgment on issues of claim construction)) (internal citation omitted);
10   Stern v. SeQual Techs., Inc., 840 F. Supp. 2d 1260, 1266 (W.D. Wash.) (construing a claim term in a

11   summary judgment motion even though that claim term was not raised in the parties’ prior joint claim

12   construction statement), aff'd, 493 F. App’x 99 (Fed. Cir. 2012); z4 Techs., Inc. v. Microsoft

13   Corp., No. 06–cv–142 (E.D. Tex. Apr. 12, 2006) (construing an additional claim term during jury trial

14   because it had become central to defendant’s litigation arguments) aff'd, 507 F.3d 1340 (Fed. Cir.

15   2007); 6 Annotated Patent Digest § 40:63.60 (Westlaw Matthews Treatise on Patent Law) (“Should a

16   summary judgment motion raise an issue of claim construction for a claim term that the court had not

17   previously construed during the claim-construction phase of the case, the court may construe that claim

18   term as part of the summary judgment proceeding.”) (citing additional cases).

19          The facts in the cases cited by CoolIT are readily distinguishable. In particular, in none of those

20   cases did the party requesting claim construction identify any recent event, such as the PTAB’s final

21   decision here, that triggered the need for new claim construction. Here, during the Court’s prior claim

22   constructions, the PTAB’s decision—which is the main thrust of Asetek’s proposed claim construction

23   of “plate”—did not even exist. And there are additional distinguishing facts between the present case

24   and those cited by CoolIT. In Apple, Inc. v. Samsung Elecs. Co., for example, the court declined to

25   “complete the Sisyphean task of providing definitive guidance as to a term’s plain and ordinary

26   meaning” in part because of “[p]ractical considerations specific to th[at] case.” No. 12-CV-00630-

27   LHK, 2014 WL 252045, at *4-5 (N.D. Cal. Jan. 21, 2014). The court explained that it had previously

28   “warned the parties” that “given the fast-approaching [] trial date, the Court would not treat the

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1    summary judgment phase of this case as a chance for the parties to make additional claim construction

2    arguments.” Id. at *4. The court additionally noted its prior experience with the particular litigants in

3    that case endlessly making claim construction-related arguments, and that “[r]esolving those disputes

4    has taken on a ‘whack-a-mole’ character, one for which the returns have quickly diminished.” Id.

5    Nevertheless, the court concluded that it would “carefully consider” disputes over claim scope even

6    at the summary judgment stage “as ‘part of the infringement analysis, not part of the claim

7    construction.’” Id. Specifically, the court explained that “in determining whether an infringement or

8    anticipation argument fits within the plain and ordinary meaning of a term,” the court would review

9    “‘the written description and other parts of the specification,’ as those tools ‘may shed contextual light
10   on the plain and ordinary meaning’”; the court would simply not define the term’s plain and ordinary
11   meaning. Id. at *5. Here, in contrast, Asetek is not asking the Court to define the plain and ordinary
12   meaning of “plate”; rather, Asetek has requested claim construction of “plate” under O2 Micro Int’l
13   Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1361 (Fed. Cir. 2008) because of events that
14   transpired in the PTAB (which Asetek could not have known during the claim construction stage).
15          Similarly, in Huawei Technologies, Co, Ltd v. Samsung Electronics Co, Ltd., the court agreed

16   to consider “the written description and other parts of the specification” for “contextual light” in

17   determining plain and ordinary meaning of claim terms en route to determining the parties’ Daubert

18   motions. 340 F. Supp. 3d 934, 947-49, 961 (N.D. Cal. 2018). Lastly, in Fujifilm Corp. v. Motorola

19   Mobility LLC, the court noted that “[t]he parties’ only disagreement concerns whether, in deciding

20   [the summary judgment] motion, [the court] must decide precisely what [the] plain and ordinary

21   meaning” of certain claim terms are. No. 12-CV-03587-WHO, 2015 WL 757575, at *4-5 (N.D. Cal.

22   Feb. 20, 2015). That is not the case here. Asetek is not asking the Court to provide greater detail on

23   the plain and ordinary meaning of “plate”; rather Asetek is requesting claim construction of the term

24   because of the parties’ disputes over its meaning in view of the written description, prosecution history,

25   and the PTAB’s decision.

26          Moreover, CoolIT’s untimeliness arguments are disingenuous given that it previously asked

27   the Court to construe the claim term “matingly engaged” in its U.S. 9,057,567 patent after the PTAB

28   issued an adverse final written decision on September 30, 2021, finding all asserted claims of that

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1    patent invalid. Specifically, in a hearing before this Court on October 7, 2021, CoolIT’s counsel argued

2    that because of “the IPR decision that came out last week . . . there is actually an additional claim

3    construction issue that [] arose because of the IPR” and that the Court “will have to address that claim

4    construction dispute” regarding the term “matingly engaged.” 1 Ex. D at 35:4-19. In response, the Court

5    noted that “[i]f something is absolutely necessary, the Court will do it” if the Court “is convinced” that

6    it is necessary. Id. at 35:20-23. For CoolIT to now argue that Asetek should have raised the issue of

7    claim construction of “plate” during the earlier claim construction stages, not after the PTAB’s

8    decision, is hypocritical and baseless. Just like CoolIT’s counsel’s argument that an “additional claim

9    construction issue” of “matingly engaged” “arose because of the IPR” against the ’567 patent, the
10   “additional claim construction issue” of “plate” similarly “arose because of the IPR” against the ’266
11   patent. See id. at 35:4-19. Ultimately, the Court declined to move forward with CoolIT’s ’567 patent
12   because all asserted claims in that patent were found invalid by the PTAB. Id. at 36:6-37:24.
13             C.      Claim Construction of “Plate” Should Not Be Left for the Jury to Decide
14             While it may be proper for parties to introduce evidence of the plain and ordinary meaning of

15   claim terms not construed by the court at trial, here the dispute is not one of plain and ordinary

16   meaning. Rather, Asetek’s position is that “plate” should be construed based on the written description,

17   prosecution history, and the PTAB’s decision. If claim construction of “plate” is left unanswered, the

18   parties would have to introduce the extensive intrinsic evidence (i.e., both the written description and

19   prosecution history), the PTAB’s decision, and CoolIT’s extrinsic evidence to the jury to argue

20   infringement/non-infringement, which would amount to improper claim construction before the jury.

21   MediaTek, Inc. v. Freescale Semiconductor, Inc., No. 11–CV–5341 YGR, 2014 WL 971765, at *5

22   (N.D. Cal. Mar. 5, 2014) (“[T]estimony grounded in the prosecution history to discern the meaning of

23   a claim is properly excluded from presentation to the jury. . . . Similarly, while the court may, in its

24   discretion, consider extrinsic evidence . . . such evidence, if required, is not appropriate for

25   presentation to a jury and is properly excluded at trial.”). Thus, contrary to CoolIT’s arguments, the

26   proper meaning and scope of “plate” should be decided by the Court so that the jury is not confused

27   by competing expert testimony that delves too deeply into claim construction. Apple, Inc. v. Samsung

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     1
         This term was incorrectly transcribed as “mainly engaged.” Bhattacharyya Decl., ¶8.
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1    Elecs. Co., No. 12-CV-00630-LHK, 2014 WL 660857, at *3 (N.D. Cal. Feb. 20, 2014) (“Arguing

2    claim construction to the jury is inappropriate because it risks confusion and the likelihood that a jury

3    will render a verdict not supported by substantial evidence.”).

4           D.      Asetek’s Proposed Claim Construction is Supported by the Written Description,
                    the Prosecution History, and the PTAB’s Decision; CoolIT’s Broad Plain and
5                   Ordinary Meaning Interpretation Based Only on Extrinsic Evidence is Not

6                   1.      Material is an important defining characteristic of the “plate”

7           CoolIT argues that the plain meaning of “plate” is defined by “its structure, relationship to

8    other components, and function, not by a material it is made of.” Dkt. 423 at 15. CoolIT is incorrect

9    that material is unimportant in defining the “plate.” Asetek does not disagree that the “plate” is a flat
10   structure (as evidenced by Asetek’s proposed construction of “plate” as “flat manifold body made of
11   a compliant material”). Dkt. 394 at 7. But as explained in Asetek’s summary judgment motion, the
12   rigid vs. compliant material is an important defining characteristic that limits the scope of the term
13   “plate” in the context of CoolIT patents. Id. at 11-13. Specifically, CoolIT’s 2011 Provisional
14   explicitly contrasted the rigid plate 240 disclosed in the 2007 Provisional with the compliant manifold
15   body (i.e., compliant insert 334) first disclosed in the 2011 Provisional, and touted the benefits of
16   compliant over rigid materials. Id. at 11-12. In CoolIT’s ’266 patent, which claims priority to the 2011
17   Provisional, CoolIT again distinguished the earlier-disclosed rigid plate 240 from the new compliant
18   insert 334. Id. at 12-13. Based on these disclosures in CoolIT’s later publications, the PTAB found
19   that plate 240, which is the only written description for the term “plate” anywhere in CoolIT’s
20   patents, is “made of a rigid, rather than compliant, material.” Dkt. 394-5 at 25-26. Thus, CoolIT’s
21   statement that the “intrinsic record does not specify a material requirement in any of the Asserted
22   CoolIT Patents” is incorrect. Dkt. 423 at 16. The specifications of the CoolIT patents, plus the
23   prosecution histories of the patents (see Dkt. 394 at 14-15), specify that plate 240 (i.e., the “plate”) is
24   rigid. CoolIT cannot now argue that the rigid vs. compliant material characteristic is unimportant in
25   distinguishing the claimed “plate” from the later-disclosed compliant manifold body, or that “plate”
26   should be construed so broadly that it covers both rigid and compliant plates.
27          Nevertheless, CoolIT attempts to rely on extrinsic evidence alone to argue that the material of
28   the “plate” need not be considered. Dkt. 423 at 16-18. Specifically, CoolIT relies on its expert’s

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1    declaration (submitted with CoolIT’s opposition), multiple textbooks and dictionary definitions, and

2    the plain meaning definition of “plate” in other unrelated court decisions to argue that the “plate’s

3    material was not a critical feature” of CoolIT’s invention, that “the intrinsic record does not specify a

4    material requirement,” and that “plate” should be defined only by its structure. Id. at 16-18. However,

5    CoolIT’s same expert argued in the IPR that the patent disclosure teaches a “few material choices”

6    and that a skilled would likely choose a non-rigid (compliant) material for plate 240, which contradicts

7    his present position that there is no material requirement for “plate.” Ex. E at 52:2-54:19. CoolIT

8    further identifies “scientific articles, patents, and publications” to argue that “non-rigid plates” were

9    known in the art prior to CoolIT’s alleged invention date of August 2007. Dkt. 423 at 17-18. But
10   whether “non-rigid plates” were known before August 2007 does not address whether the inventor
11   possessed a “plate” made from a compliant (non-rigid) material by the time of the invention, and thus
12   whether there is written description support for “plate” made of compliant (non-rigid) material. And
13   the PTAB unequivocally found based on the intrinsic record that there was no such written description.
14   See Dkt. 394-5 at 23, 26, 30. And accordingly, “plate” cannot be broadly construed to encompass
15   compliant materials as urged by CoolIT.
16          Importantly, CoolIT’s elevation of extrinsic evidence over the intrinsic record of the patents is

17   contrary to fundamental principles of claim construction. As the Federal Circuit explained in Phillips

18   v. AWH Corp., “extrinsic evidence in general [is] less reliable than the patent and its prosecution

19   history in determining how to read claim terms,” and that “a court should discount any expert

20   testimony that is clearly at odds with the claim construction mandated by the claims themselves, the

21   written description, and the prosecution history, in other words, with the written record of the patent.”

22   415 F.3d 1303, 1318 (Fed. Cir. 2005) (citation and quotation marks omitted). As the Federal Circuit

23   additionally explained in the seminal Vitronics Corp. v. Conceptronic, Inc. case, “[i]n most situations,

24   an analysis of the intrinsic evidence alone will resolve any ambiguity in a disputed claim term. In such

25   circumstances, it is improper to rely on extrinsic evidence. In those cases where the public record

26   unambiguously describes the scope of the patented invention, reliance on any extrinsic evidence is

27   improper.” 90 F.3d 1576, 1583 (Fed. Cir. 1996) (citations omitted and emphasis added). That is the

28   case here, where the intrinsic record unambiguously establishes the importance of the rigid vs.

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1    compliant material characteristic of the claimed “plate.” Therefore, the Court should not rely on

2    CoolIT’s litigation-driven extrinsic evidence, which contradicts the intrinsic evidence, to find that the

3    “plate” should not be defined by its material.

4                    2.      The intrinsic record and the PTAB’s final decision support Asetek’s
                             proposed construction of “plate” as requiring rigid materials
5

6            CoolIT blatantly mischaracterizes the PTAB’s final decision in the IPR against its ’266 patent

7    to argue that the decision is not relevant to the claim construction of “plate.” Dkt. 423 at 19-20.

8    CoolIT’s argument that the PTAB did not construe the term “plate,” and based it priority determination

9    on the phrase “manifold body defin[ing] a pair of compliant surfaces,” 2 ignores that in order to show
10   benefit of priority to the alleged 2007 date invention—which required CoolIT to show written
11   description support for a manifold body made of compliant materials in the 2007 Provisional —CoolIT
12   argued to the Board that “the inventor possessed a plate 240 made from a compliant material by August
13   9, 2007” and that the disclosure in the 2007 Provisional was “consistent with plate 240 being made
14   from a compliant material.” Dkt. 394-11 at 21-28. But the PTAB rejected each of these arguments, in
15   which CoolIT attempted but failed to show that plate 240 was made of a compliant material. Dkt. 394-
16   5 at 24-29. The PTAB instead agreed with Asetek that there was no written description support for a
17   plate made of compliant material in the 2007 Provisional. Id. at 23, 30; see also Dkt. 394 at 2-3
18   (identifying the PTAB’s specific findings). Indeed, the PTAB specifically found that the 2007
19   Provisional provided written description support only for a plate made of rigid material. Dkt. 394-5 at
20   24-29. But now in this case, in which CoolIT is asserting patents that claim priority to the 2007
21   Provisional (which discloses only a rigid plate), CoolIT is improperly attempting to construe the
22   claimed “plate” more broadly, and beyond the written description, to include plates made of compliant
23   materials. In so doing, CoolIT is trying to improperly capture compliant material subject matter,
24   disclosed for the first time in 2011, into the scope of its earlier-filed patent claims, which is
25   impermissible. See PowerOasis. Inc. v. T-Mobile USA, Inc., 522 F.3d 1299, 1309-11 (Fed. Cir. 2008).
26

27   2
       A “manifold body defin[ing] a pair of compliant surfaces” is the same as a manifold body made of
     a compliant material. Bhattacharyya Decl., ¶9. Even CoolIT does not argue otherwise (nor can it).
28   See Dkt. 394-11 at 21 (CoolIT arguing that the priority challenge reduces to whether “the inventor
     had possession of a manifold body made from a ‘compliant’ material.”).
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1            CoolIT’s argument that plate 240 is only one embodiment in the ’266 specification, and claim

2    construction should not be limited to that, misses the mark because there is no written disclosure of a

3    “plate” made of compliant material and the intrinsic record makes a clear distinction between rigid

4    and compliant materials, as the PTAB found, thus imposing a limit on the scope of the claimed “plate.”

5    See Dkt. 394 at Section II, A. Indeed, it is well established that the scope of the claim cannot exceed

6    the inventor’s disclosure in the specification. See id. at 9-11 (discussing cases finding that the claim

7    scope cannot exceed the written disclosure). In order for CoolIT to get a broad interpretation of

8    “plate” that includes compliant materials, CoolIT must show written description support for “plate”

9    made of compliant material. But CoolIT cannot do that (and has not even attempted to do that in
10   its opposition). CoolIT tried unsuccessfully to show written description support for “plate” made of
11   compliant material during the IPR by pointing to its only embodiment—plate 240. But the PTAB
12   disagreed and expressly found that there is no written description support for plate 240 being made of
13   a compliant material. See Dkt. 394 at Section II, A. That should be the end of the written description
14   inquiry. CoolIT’s arguments that the terms “plate” and “manifold body” are not interchangeable, 3 and
15   CoolIT’s legally erroneous argument that written description inquiry for priority determination is

16   different from regular written description analysis, 4 are incorrect and beside the point.

17           The prosecution history of CoolIT’s patent further supports limiting the scope of “plate” to

18   rigid materials. Dkt. 394 at 14-15. CoolIT’s attempted spin on the statements in the prosecution

19   histories is incorrect and mischaracterizes the prosecution histories. By distinguishing Nelson’s stiff

20   and rigid plate 36 from the claimed compliant manifold, CoolIT clearly and unmistakably made the

21   material of the plate/manifold body an important defining characteristic. CoolIT’s express

22   differentiation of rigid vs. compliant plate during prosecution contradicts its present (incorrect)

23
     3
      CoolIT’s argument that “plate” and “manifold body” are not interchangeable contradicts it prior attempt
24   at the PTAB to rely on plate 240 to show support for “manifold body” made of compliant material. Dkt.
     394-11 at 21-28; see also Dkt. 394-5 at 23, 24 (the PTAB equating “manifold body” to “plate”).
25
     4
      To claim the benefit of an earlier priority date, the earlier disclosure must meet the written
26   description requirement under Section 112, ¶1. Tech. Licensing Corp. v. Videotek, Inc., 545 F.3d
     1316, 1326 (Fed. Cir. 2008) (“[A] claim in a later application receives the benefit of the filing date of
27   an earlier application so long as the disclosure in the earlier application meets the requirements of 35
     U.S.C. § 112, ¶ 1, including the written description requirement, with respect to that claim.”); New
28   Railhead Mfg., LLC v. Vermeer Mfg. Co., 298 F.3d 1290, 1294 (Fed. Cir. 2002) (same for a non-
     provisional application to be afforded the priority date of a provisional application).
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1    position that “plate” should be construed broadly to include both rigid and compliant materials.

2                   3.      CoolIT has not shown written description support for “plate” made of
                            compliant material to support its plain meaning interpretation, nor
3                           can it. In any event, CoolIT is collaterally estopped from litigating the
                            written description issue in the district court
4

5           As discussed above, CoolIT must show written description support for “plate” made of

6    compliant material to get a broad plain meaning interpretation of “plate” that includes plates made of

7    compliant material. CoolIT has not (and cannot) show that. CoolIT asserts that its expert has not had

8    an opportunity to address written description for “plate” made of compliant material (even though

9    Asetek addressed its claim construction of “plate,” the written description issue, and related non-
10   infringement position in Dr. Tuckerman’s Non-Infringement Report served on December 8, 2021).
11   Dkt. 423 at 23. The truth is that CoolIT (and its expert) had a full and fair opportunity to show written
12   description for “plate” made of compliant material at the PTAB. It tried and failed. CoolIT should not
13   be allowed to continue to litigate this same written description issue in this Court. Furthermore, CoolIT
14   and its expert have had more than four months to consider Dr. Tuckerman’s expert opinion on this
15   subject, and CoolIT’s expert submitted an expert declaration along with its opposition in an attempt
16   to thwart Asetek’s motion for summary judgment, but the expert said nothing to attempt to show
17   written description because it is simply not there, as established previously in the PTAB proceeding.
18          Contrary to CoolIT’s assertion, the identical issue of written description for “plate” made of
19   compliant material was before the PTAB because there is no distinction between the terms “plate” and
20   “manifold body” in the context of CoolIT’s patents. See fn. 3, supra. Specifically, at the PTAB,
21   CoolIT’s only argument for patentability was that the challenged claims 1, 2, 5, and 9 of the ’266
22   patent are entitled to the 2007 priority date because the 2007 Provisional allegedly shows that “the
23   inventor had possession of a manifold body made of compliant material, namely plate 240.” Dkt. 394-
24   5 at 22-23. The PTAB rejected that argument and found there was no written description support for
25   plate made of compliant material. Id. at 23-24.
26          CoolIT’s attempts to distinguish Zoho Corp. v. Sentius Int'l, LLC, 494 F. Supp. 3d 693 (N.D.
27   Cal. 2020) and Atlantic Research Marketing Systems, Inc. v. Troy, 659 F.3d 1345 (Fed. Cir. 2011) are
28   misplaced. Dkt. 423 at 24. Both of those cases stand for the proposition that there must be written

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1    description support for the full scope of the claim. The fact that CoolIT can show support for “plate”

2    made of rigid material (i.e., plate 240) is beside the point. CoolIT has not (and cannot) show written

3    description support for plate made of compliant material, without which “plate” should not be

4    construed broadly to include plates made of compliant material.

5    II.       UNDER THE PROPER CONSTRUCTION OF “PLATE” AS A MANIFOLD BODY
               MADE OF RIGID MATERIAL, THE COURT SHOULD GRANT SUMMARY
6              JUDGMENT OF NON-INFRINGEMENT FOR ASETEK’S GEN 5, 6, AND 7
               PRODUCTS BECAUSE THERE IS NO GENUINE DISPUTE THAT THE ALLEGED
7              “PLATE” IN THESE PRODUCTS IS MADE OF A COMPLIANT MATERIAL

8              CoolIT argues that there is a dispute between the parties whether the EPDM manifolds in

9    Asetek’s Gen 5, 6, and 7 products “fall[] within the plain meaning of the term ‘plate’ in the context of
10   the claims,” and that the parties should “introduce evidence at trial to illustrate the plain meaning” and
11   have the jury decide infringement. Dkt 423 at 15. But that is not the correct issue. Asetek’s position is
12   that “plate” should be construed by the Court as a manifold body made of rigid (non-compliant)
13   material, and that under that proper construction, the Court should grant summary judgment that
14   Asetek’s Gen 5, 6, and 7 products are non-infringing because there is no dispute of material fact that
15   the EPDM manifolds (i.e., the alleged “plate”) in Asetek’s Gen 5, 6, and 7 products are compliant
16   (non-rigid) and thus fall outside the scope of “plate” as properly construed. Whether CoolIT expert
17   considers the EPDM manifolds as “plate” under its plain and ordinary meaning is not relevant to
18   Asetek’s summary judgment motion.
19   III.      ASETEK’S ALTERNATIVE WRITTEN DESCRIPTION ARGUMENT IS NOT
               UNTIMELY BECAUSE IT IS PREDICATED ON THE COURT GIVING “PLATE” A
20             BROAD PLAIN MEANING INTERPRETATION
21             CoolIT cannot legitimately claim any unfair surprise or “harm” from Asetek’s written

22   description-based invalidity argument because the exact same matter—written description for plate

23   made of compliant material—was litigated between the parties in the PTAB. Moreover, Asetek’s

24   invalidity theory is directly driven by claim construction of “plate,” which the Court has not decided

25   yet. Moreover, this invalidity issue arose alongside the issue of claim construction of “plate” following

26   the PTAB’s IPR decision, so Asetek could not have raised it before. In a similar situation, Judge Orrick

27   explained that he is “‘extremely reluctant’ to dispose of substantive invalidity attacks based on

28   procedural defects.” Huawei, 340 F. Supp. 3d at 998 (citation omitted). The same should apply here.

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1    IV.      DEFENDANTS HAVE FAILED TO IDENTIFY EVIDENCE THAT CLEARLY AND
              CONVINCINGLY SHOWS THAT A PERSON SKILLED IN THE ART WOULD
2             HAVE BEEN MOTIVATED TO COMBINE THE PRIOR ART REFERENCES IN
              OBVIOUSNESS GROUNDS 4-9 AND WOULD HAVE REASONABLY EXPECTED
3             SUCCESS IN DOING SO

4             “In order to survive summary judgment, [Defendants] must provide evidence that, viewed

5    through the lens of summary judgment, clearly and convincingly shows ‘that a person of ordinary skill

6    in the art would have been motivated to combine the prior art in the way claimed by the ’362 patent

7    claims at issue and had a reasonable expectation of success in doing so.’” Asia Vital Components Co.

8    v. Asetek Danmark A/S, 377 F. Supp. 3d 990, 1011 (N. D. Cal. 2019) (citing Pers. Web Techs., LLC

9    v. Apple, Inc., 848 F.3d 987, 991 (Fed. Cir. 2017)). Here, Defendants have failed to identify evidence
10   that clearly and convincingly shows that a skilled artisan would have been motivated to combine the

11   prior art and would have had a reasonable expectation of success in doing so.

12            In its summary judgment motion, Asetek pointed out that Dr. Abraham’s obviousness opinions

13   for Grounds 4-9 failed to explain how or why the prior art references would have been combined to

14   arrive at the ’362 patent claims. Dkt. 394 at 22-25. In response, Defendants do not identify any

15   evidence in the record that explains how the references would have been combined, or why a skilled

16   artisan would pick out the references in Grounds 4-9 and combine them in the manner claimed.

17   InTouch Techs., Inc. v. VGO Commc'ns, Inc., 751 F.3d 1327, 1353-54 (Fed. Cir. 2014) (requiring

18   “meaningful explanation for why one of ordinary skill in the art would be motivated to combine [the

19   particular] references at the time of this invention.”); Innogenetics, N.V. v. Abbott Labs., 512 F.3d

20   1363, 1373 (Fed. Cir. 2008) (requiring “motivation to combine particular references to reach the

21   particular claimed method”); ActiveVideo Networks, Inc. v. Verizon Commc’ns., Inc., 694 F.3d 1312,

22   1327 (Fed. Cir. 2012) (requiring explanation of “how specific references could be combined . . . or

23   how any specific combination would operate or read on the asserted claims”). Instead, Defendants

24   simply point to ¶¶695, 697, 701-706 in Dr. Abraham’s Invalidity Report (Dkt. 396) that copy-paste

25   paragraphs from Shin, Ryu, Wu, Yu, and Batchelder to show that each reference is “attempting to

26   solve similar issues and each disclose or teach known techniques that can be used for one another.”

27   See Dkt. 396 at ¶¶695, 697, 701-706. Contrary to Defendants’ assertion, however, these paragraphs in

28   the Report do not explain why a skilled artisan would have picked Shin, Ryu, Wu, Yu, and Batchelder

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1    (as opposed to other references) to combine in the manner claimed, nor do they explain how a skilled

2    artisan would have combined them and how the proposed combination would have worked.

3           Specifically, Dr. Abraham’s conclusory assertion in these paragraphs that the asserted prior art

4    references are “attempting to solve similar issues” is not legally sufficient to establish a motivation to

5    combine. Securus Techs., Inc. v. Glob. Tel*Link Corp., 701 F. Appx. 971, 977 (Fed. Cir. 2017) (finding

6    the “broad characterization” of the references as falling within the same alleged field, without an

7    explanation of “how or why” they would be combined, was insufficient to support obviousness);

8    Microsoft Corp. v. Enfish, LLC, 662 F. App’x 981, 990 (Fed. Cir. 2016) (affirming finding of no

9    motivation to combine where appellant “gave no reason for the motivation of a person of ordinary
10   skill to combine [the two references] except that the references were directed to the same art or same

11   techniques”); DSS Tech. Mgmt., Inc. v. Apple Inc., 885 F.3d 1367, 1374-77 (Fed. Cir. 2018) (mere

12   “similarities” between prior art references not sufficient for motivation to combine). Nor is Dr.

13   Abraham’s assertion that the references “teach known techniques that can be used for one another”

14   (emphasis added) legally sufficient because it is a “conclusory reference[] to [his] belief that one of

15   ordinary skill in the art could combine these references, not that they would have been motivated to

16   do so.” InTouch Techs., 751 F.3d at 1352 (emphases in original); ActiveVideo, 694 F.3d at 1327.

17          At bottom, Dr. Abraham’s conclusory, ipse dixit opinion that a skilled artisan would have been

18   motivated to combine the references, without explanation of how or why they would have been

19   combined, does not raise genuine issues of material fact. TQ Delta, LLC v. Cisco Sys., Inc., 942 F.3d

20   1352, 1359, 1362-63 (Fed. Cir. 2019).

21          But even if the Court were to find a motivation to combine the references in Grounds 4-9 (it

22   should not for the reasons explained above and in Asetek’s opening brief), the obviousness allegations

23   in Grounds 4-9 still fail as a matter of law because Defendants failed to identify legally sufficient

24   evidence that a person skilled in the art would have had a reasonable expectation of success in

25   combining the asserted references. Novartis Pharms. Corp. v. West-Ward Pharms. Int’l Ltd., 923 F.3d

26   1051, 1062-63 (Fed. Cir. 2019) (separating the motivation to combine and reasonable of success

27   inquiries, and affirming finding of no obviousness because the defendant failed to prove reasonable

28   expectation of success by clear and convincing evidence); MediaTek, Inc. v. Freescale Semiconductor,

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1    Inc., No. 11–CV–5341 YGR, 2014 WL 2854705, at *2 (N.D. Cal. June 20, 2014) (requiring a separate

2    showing of reasonable expectation of success) (citation omitted); see also Dkt. 394 at 25 (citing cases).

3           Defendants simply point to ¶¶ 712-714 of Dr. Abraham’s Invalidity Report (Dkt. 396) to argue

4    that he identified reasonable expectation of success for Grounds 4-9. Dkt. 423 at 24. But ¶¶ 712-714

5    simply make conclusory statements that each reference individually is enabled, and that “a POSA []

6    would have been able to put them together in a known way with predictable results and a reasonable

7    expectation of success.” Dkt. 396, ¶713. Such a conclusory, single-sentence assertion is not legally

8    sufficient to clearly and convincingly shows that there would have been a reasonable expectation of

9    success in combining the references in Grounds 4-9. In re Magnum Oil Tools Int’l, Ltd., 829 F.3d
10   1364, 1380 (Fed. Cir. 2016) (finding conclusory statements insufficient to prove obviousness); Asia
11   Vital Components, 377 F. Supp. 3d at 1011, 1013-14 (finding AVC’s expert’s opinion insufficient
12   because he did not explain “how combining the prior art references would have resulted in a workable

13   and smaller device, let alone in the specific invention of the ’362 patent.”); Broadcom Corp. v. Emulex

14   Corp., 732 F.3d 1325, 1335 (Fed. Cir. 2013) (finding that even if there “might have [been] some

15   motivation . . . the record does not show any reasonable expectation [of success],” and requiring “a

16   plausible rational[e] as to why the prior art references would have worked together.”) (citation and

17   quotation omitted). Thus, contrary to Defendants’ argument, there is no factual issue for the jury to

18   decide regarding reasonable expectation of success for Grounds 4-9. MediaTek, 2014 WL 2854705,

19   at *7-8 (finding Freescale’s expert opinion “entirely too conclusory to create a genuine factual

20   dispute,” and that “[s]imply arguing against MediaTek’s facts in a summary manner, without evidence

21   to establish a dispute, does not suffice” to avoid summary judgment of no obviousness).

22          Given that fact and expert discovery have closed, and Defendants failed to present legally

23   sufficient evidence on motivation to combine and reasonable expectation of success for Grounds 4-9,

24   summary judgment of no invalidity of claims 17 and 19 of the ’362 patent under Grounds 4-9 is

25   appropriate. Asia Vital Components, 377 F. Supp. 3d at 1014.

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1    Dated: April 21, 2022             FINNEGAN, HENDERSON, FARABOW,
                                        GARRETT & DUNNER, LLP
2

3                                      By:      /s/ Arpita Bhattacharyya
                                             Arpita Bhattacharyya
4                                            Attorneys for Plaintiff and Counterdefendant
                                             ASETEK DANMARK A/S and
5                                            Counterdefendant ASETEK USA, INC.

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